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 5                             UNITED STATES DISTRICT COURT
 6                                      DISTRICT OF NEVADA
 7                                                    ***

 8   UNITED STATES OF AMERICA,           )
                                         )
 9                     Plaintiff,        )                   Case No. 2:10-cr-0547-RLH-GWF
                                         )
10         vs.                           )                             ORDER
                                         )              (Motion for Review of Detention Order–#172)
11   NICHOLAS GHAFOURIA,                 )
                                         )
12                     Defendant.        )
     ____________________________________)
13

14                  Before the Court is Defendant’s Motion to the District Court to Review and Amend

15   the Detention Order Pursuant to 18 U.S.C. §3145(b) (#172, filed January 4, 2011). An expedited

16   hearing is requested but, upon review of the record, the Court deems unnecessary. The Govern-

17   ment’s Response (#178) was filed January 12, 2011. The death of Chief Judge John Roll, in

18   Tucson, Arizona, and a Circuit Chief Judges Meeting in San Diego, California has delayed the

19   issuance of this order, but not the consideration of the motion.

20                  This Court has reviewed the matter de novo, including a careful review of the

21   transcript of the hearing before Magistrate Judge Leen. The District Judge finds no basis for

22   amending Judge Leen’s detention order (#39, filed November 8, 2010).

23                  Defendant Ghafouria’s Motion presents no new facts and raises no new issues.

24   While Judge Leen found Ghafouria both a risk of nonappearance and a danger to the community, it

25   appears that her primary concern was the danger to the community and the failure of Defendant to

26   overcome the presumption which exists in this case. Ghafouria’s counsel stresses that Defendant is

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 1   not a flight risk because of his ties to the community and proposes his father as a third-party

 2   custodian. These arguments were made to and rejected by Judge Leen, and for good reason.

 3                  Ghafouria’s father clearly does not recognize the seriousness of the charges against

 4   his son, characterizing them as “stupid mistakes.” Moreover, the Defendant apparently successfully

 5   hid his daily drug use from his father. While the offer to take custody of his son is admirable, it

 6   provides no assurance to the Court that the father would be successful in controlling the actions of

 7   the son.

 8                  The evidence presented to Judge Leen adequately supports her finding that Ghafouria

 9   was the leader and organizer of a multi-person, multi-state sophisticated thirteen month conspiracy

10   to illegally sell prescription oxycodone in this district and elsewhere; established multiple bank

11   accounts, including the account of his own company, to launder the proceeds. He has admitted to

12   both the drug sales and the laundering of approximately 1.2 million dollars through these various

13   accounts. His relatively new Mercedes vehicle is registered to another person, but he makes the

14   payments, which is consistent with not being able to account to money laundering and not being

15   able to account for legitimate income from legitimate sources.

16                  Pretrial Services joined in the request for detention, noting Defendant’s convictions

17   for robbery, battery with a deadly weapon, multiple failure to appear, two probation violations and

18   significant drug use and possession of numerous firearms. While the criminal matters date back to

19   approximately 2002, and were often misdemeanors, they were pled down from more violent and

20   more serious charges. While the firearms are registered and he possesses a permit to carry a

21   concealed weapon, it is not permissible to have such a permit if a person is a drug user. Further-

22   more, permits to carry concealed weapons limit the number of weapons authorized. Defendant had

23   10 firearms in his residence.

24                  Neither in the original hearing, nor in the present motion, has Defendant overcome

25   the presumption in favor of detention found in 18 U.S.C. §3142. The Court has granted the

26   requested review and has reviewed the record and the motion to amend the detention order, and

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 1   denies the motion.

 2                 IT IS THEREFORE ORDERED that Defendant’s Motion to Amend the Detention

 3   Order (#172) is DENIED.

 4                 Dated: January 24, 2011.

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 6                                                  ____________________________________
                                                    Roger L. Hunt
 7                                                  Chief United States District Judge

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